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      5

      6                        IN THE UNITED STATES DISTRICT COURT

      7                      FOR THE EASTERN DISTRICT OF CALIFORNIA

      8
                                                   ) Case No.: CR.S. 06-035 MCE
      9   United States,                           )
                                                   ) MOTION TO EXONERATE BOND
     10                 Plaintiff,                 )
                                                   )
     11           vs.                              )
                                                   )
     12   Zachary Jenson,                          )
                                                   )
     13                 Defendant.                 )

     14            Zachary Jenson was sentenced to time served in the above-

     15   captioned matter.     Mr. Jenson’s case is now closed.      His mother,

     16   Valerie Barton, posted her property 3230 Oneida Ct, Murfreesboro, TN

     17   37128.    Defendant hereby moves that bond be exonerated on the

     18   property.     Defendant further moves that bond be exonerated on stocks

     19   posted on his behalf in the amount of $40,000, by Thaddeus C.

     20   Pritchett, 6614 136th Place, SW, Edmonds, WA 98026, 425-741-0484.

     21   DATE:    February 4, 2009
                                                        Respectfully submitted,
     22
                                                        __/s/ Shari Rusk
     23
                                                        Shari Rusk
                                                        Attorney for Defendant
     24
                                                        Zachary Jenson
     25
                                          ORDER
     26   It is so ordered.
          DATED: February 9, 2009
     27
                                             __________________________________
     28
                                             MORRISON C. ENGLAND, JR
                                             UNITED STATES DISTRICT JUDGE
                                                    1



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